Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 1 of 8




            EXHIBIT 1
           Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 2 of 8




                                  Declaration of Julie Gardner

        I,Julie Gardner, declare under penalty of perjury the following to be true and accurate to
the best of my information and belief:

1.     I am an investigator with the Capital Habeas Unit of the Office of the Federal Public
       Defender in Oklahoma City. Our office represented John Marion Grant who was executed
       on October 28, 2021. I was one ofthe two witnesses Mr. Grant requested to be present for
       his execution. Assistant Federal Public Defender Meghan LeFrancios was his other witness.

2.     Prior to Mr. Grant's execution, I had witnessed the execution of a federal inmate and 5
       executions by the State of Oklahoma. Mr. Grant's execution was the first execution I
       witnessed where Midazolam was one of the drugs administered. I hope to never witness
       another execution where Midazolam is being used. It was horrifying to watch.

3.     Ms. LeFrancios and I were sitting approximately 9 feet from Mr. Grant and looking over at
       him from an angle where we could see his left side. His left wrist was restrained. I observed
       the IV insertion point near the bend ofhis left arm. From where I was seated,I could not see
       ifthere was an IV on his right arm; however,I assumed there was because I could see a line
       dangling underneath the headrest that was not attached to the IV on left side of his body.

4.     When the curtains opened, a DOC official began reading the warrant. Mr. Grant quickly
       began talking over the official and the microphone was cut off before the reading of the
       warrant concluded. I believe the DOC official finished reading the warrant and then he
       moved down by Mr. Grant's feet. There was never any indication that the execution was
       going to begin, except for the official moving to stand by his feet. At this point I started my
       stopwatch.

5.     It took a while for anything to happen. Mr. Grant even raised his head and looked over his
       right shoulder back towards where the drugs were being remotely administered, as if to see
       what was happening. About 30 to 40 seconds after I had started my stop watch, I observed
       fluid beginning to flow through the tube. At this point Mr. Grant was looking at the ceiling.

6.     When I started to see the drugs flow,I started to watch for changes in his breathing and to
       see if he tried to move his arm. At first it seemed to be smooth, peaceful and he even closed
       his eyes. He didn't move his arm. Then it seemed like the drug hit and his chest expanded
       and he took a deep breath and let it out. The breaths that followed the first deep breath were
       more violent and irregular. His chest was heaving and it appeared like he was gasping for
       air. His head was moving. His mouth was moving as if he was trying to suck in air. Then
       he turned his head to the right and started vomiting and continued to vomit. His face and
       neck were covered in vomit. I saw the vomit around his mouth bubble up and pop as the air
       from his lungs was being forced out. Then as he took air back in,the vomit would sink back
       down around his mouth. It appeared like he was drowning in his own vomit.
          Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 3 of 8




7.     Almost 4 minutes after I had seen the fluids flowing through the IV, a woman who was
       wearing a mask entered the chamber with a towel and appeared to wipe/scoop the vomit out
       of his mouth. She then proceeded to wipe the vomit off of his face and neck in an effort to
       clean him up. As she was doing this, a man who was wearing a blue wrap over his head that
       also covered his mouth,came out to help her. They both appeared to be nervous and hurried.
       When the woman first entered the room,her eyes widened when she saw Mr. Grant. As for
       the man,his hands were visibly shaking as he was wiping off Mr. Grant's face. They exited
       the room.

8.     Mr. Grant's chest continued to heave, he continued to gasp for air, and he continued to
       vomit. As he exhaled, vomit would fling out of his mouth. I think the two individuals came
       back out and cleaned him off again. Eventually, John's breathing started to slow down and
       his chest was not heaving as much. He was also not vomiting as much. The vomit that was
       around his mouth and on his lips appeared foamy.

9.     Approximately 7 minutes into the execution,the man came back into the room. As the man
       entered, Mr. Grant raised his head and turned it towards us (to his left). He also tried to
       raise/move his left shoulder but it was strapped down. The man took hold of Mr. Grant's
       face and turned it back to where it was centered. He wiped offthe foamy vomit around his
       mouth. He removed Mr. Grant's glasses and wiped around his eyes. The man then left the
       room.

10.    Because I had seen Mr. Grant move his head and try to raise his shoulder,I did not think he
       was unconscious. However, someone announced over the intercom "the inmate is
       unconscious." I looked down at my stop watch and we were at the 7 minute mark. John's
       breathing was slowing and shallow at this point and his chest was not moving as much or as
       violently.

1 1.   After it was announced that the "inmate is unconscious," I noticed fluids started moving
       through the IV line. It was only a second or two before I saw Mr. Grant's left cheek flutter
       and his breath "puffed out" over his lips. His head was facing to his right. His breathing
       slowed. All movements slowed and eventually stopped altogether.

12.    The man entered the room again and pushed his fingers into Mr. Grant's jugular on his left
       side. (The skin around Mr. Grant's neck seemed slack as did hisjaw.) He then appeared to
       squeeze Mr. Grant's throat with his thumb on Mr. Grant's right side. He left the room.
       Seconds later Director Crow came in an announced that the execution was over at 4:21.(My
       stop watch showed the execution took approximately 12 minutes and 40 seconds.)

13.    I have read the attached article by Sean Murphy, a reporter with the Associated Press, and
       I agree with his description ofthe execution.
         Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 4 of 8




       I declare under penalty of perjury the foregoing is true and accurate to the best of my
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Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 5 of 8
Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 6 of 8
Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 7 of 8
Case 5:14-cv-00665-F Document 551-1 Filed 11/18/21 Page 8 of 8
